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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

DR. SHIVA AYYADURAI,

Plaintiff,

Vv. C.A. No. 1:20-11889-MLW

WILLIAM FRANCIS GALVIN,
MICHELLE K. TASSINARI,
DEBRA O'MALLEY,
AMY COHEN,
NATIONAL ASSOCIATION OF STATE
ELECTION DIRECTORS,
all in their individual
capacities, and
WILIAM FRANCIS GALVIN, in his
official capacity as the
Secretary of the Commonwealth
of Massachusetts,

Defendants.

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WOLF, D.J. May 19, 2021

On further reflection, at the May 20, 2021 hearing on the
pending motions the court may begin by hearing argument concerning
whether plaintiff's claims for preliminary and permanent
injunctive relief are barred by the Eleventh Amendment, and whether
plaintiff has alleged a plausible claim that Twitter, Inc.'s
("Twitter") suspensions of his Twitter account were state action
that violated plaintiff's rights under the First Amendment. The
court will permit Twitter, as well as the present parties, to
address the First Amendment issue.

Twitter may be impacted by the court's resolution of the First

Amendment issue even if it is not joined as a party because Twitter
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may be subject to any preliminary injunction issued, pursuant to
Federal Rule of Civil Procedure 65(d)(2)(C), as a "person who [is]
in active concert or participation with" the defendant. In view
of this issue, Twitter may wish to consider whether it would prefer
to be joined as a party, with the right to participate in
proceedings including any appeals, rather than be only a witness
if its present opposition to being joined is persuasive. See Fed.
R. Civ. P. 19(a) (1) (B) (i).

In any event, it is hereby ORDERED that the May 20, 2021
hearing shall begin at 10:00 a.m. rather than 9:30 a.m., and will

continue on May 21, 2021, if necessary.

ASG

UNITED STATES DISTRICT JUDGE
